510 U.S. 942
    Barclays Bank PLCv.Franchise Tax Board of California.
    No. 92-1384.
    Supreme Court of United States.
    November 1, 1993.
    
      1
      Appeal from the Ct. App. Cal., 3d App. Dist.
    
    
      2
      Motion of Government of the United Kingdom and Committee on State Taxation et al. for leave to file supplemental briefs as amici curiae in No. 92-1384 denied. Certiorari granted, cases consolidated, and a total of one and one-half hours allotted for oral argument. Reported below: No. 92-1384, 10 Cal. App. 4th 1742, 14 Cal. Rptr. 2d 537; No. 92-1839, 10 Cal. App. 4th 1768, 13 Cal. Rptr. 2d 761.
    
    